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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

WILLIAM C. RODEN, M.D.,                            §
                                                   §
               Plaintiff,                          §
                                                   §
V.                                                 §           1-15-CV-255 RP
                                                   §
THE PAUL REVERE LIFE INSURANCE                     §
COMPANY,                                           §
                                                   §
               Defendant.                          §


                                                 ORDER

       Before the Court is the parties’ Stipulation of Dismissal With Prejudice, filed January 18,

2016 (Clerk’s Dkt. #19). By way of the stipulation, the parties state they seek to dismiss all claims

raised in this action. See FED. R. CIV. P. 41(a)(1) (plaintiff may dismiss action by filing stipulation

of dismissal signed by all parties who have appeared).

       As the parties have all signed the stipulation, the Stipulation of Dismissal is GRANTED

       Accordingly, IT IS ORDERED that all claims and causes of action asserted by the parties

to this action are hereby DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that all pending motions are hereby TERMINATED and the

Clerk’s Office is directed to close this case.

       Each party is to bear its own attorney’s fees and costs.

       SIGNED on January 19, 2016.




                                             ROBERT L. PITMAN
                                             UNITED STATES DISTRICT JUDGE
